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           Santa Rosa County, FL (Detailed Portion 1)




                    Appendix A: Coastal Real Property Claim
                                                                           30
                                  Zone Map

                                                                                025317
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           Santa Rosa County, FL (Detailed Portion 2)




                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

                                                                                025318
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              Okaloosa County, FL (Entire County)




                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

                                                                                025319
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            Okaloosa County, FL (Detailed Portion 1)




                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

                                                                                025320
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            Okaloosa County, FL (Detailed Portion 2)




                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

                                                                                025321
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                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

                                                                                025322
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             Walton County, FL (Detailed Portion 1)




                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

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             Walton County, FL (Detailed Portion 2)




                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

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             Walton County, FL (Detailed Portion 3)




                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

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             Walton County, FL (Detailed Portion 4)




                    Appendix A: Coastal Real Property Claim
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             Walton County, FL (Detailed Portion 5)




                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

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                  Bay County, FL (Entire County)




                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

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                Bay County, FL (Detailed Portion 1)




                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

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                Bay County, FL (Detailed Portion 2)




                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

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                Bay County, FL (Detailed Portion 3)




                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

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                Bay County, FL (Detailed Portion 4)




                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

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                Bay County, FL (Detailed Portion 5)




                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

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                Bay County, FL (Detailed Portion 6)




                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

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                  Gulf County, FL (Entire County)




                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

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               Gulf County, FL (Detailed Portion 1)




                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

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               Gulf County, FL (Detailed Portion 2)




                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

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               Gulf County, FL (Detailed Portion 3)




                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

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               Gulf County, FL (Detailed Portion 4)




                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

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                Franklin County, FL (Entire County)




                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

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             Franklin County, FL (Detailed Portion 1)




                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

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             Franklin County, FL (Detailed Portion 2)




                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

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             Franklin County, FL (Detailed Portion 3)




                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

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             Franklin County, FL (Detailed Portion 4)




                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

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             Franklin County, FL (Detailed Portion 5)




                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

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             Franklin County, FL (Detailed Portion 6)




                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

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             Franklin County, FL (Detailed Portion 7)




                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

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             Franklin County, FL (Detailed Portion 8)




                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

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             Franklin County, FL (Detailed Portion 9)




                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

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            Franklin County, FL (Detailed Portion 10)




                    Appendix A: Coastal Real Property Claim
                                                                            63
                                  Zone Map

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            Franklin County, FL (Detailed Portion 11)




                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

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                Wakulla County, FL (Entire County)




                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

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             Wakulla County, FL (Detailed Portion 1)




                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

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             Wakulla County, FL (Detailed Portion 2)




                    Appendix A: Coastal Real Property Claim
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                   Grand Isle, LA (Entire Island)




                    Appendix A: Coastal Real Property Claim
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                                  Zone Map

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Appendix D to Compensation Framework for
         Coastal Real Property Claims:
Eli ibl Parcel Compensation Category
Eligible                       C       M
                                       Map




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